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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)        _ ______     __ Chapter                                    7
                           ___ _       ___
                                                                                                                        D Check if this an
                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor's name               Busch, Slipakoff, Mills & Slomka, LLC

2.    All other names debtor
      used in the last 8 years     Note that same four law partners also formed an LLC in Florida with the identical name as Debtor.
      Include any assumed          Florida LLC is NOT fiing Bankruptcy.
      names, trade names and
      doing business as names

3.    Debtor's federal
      Employer Identification
      Number (EIN)


 4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                 business
                                  6400 Powers Ferry Road
                                  Suite 200
                                  Atlanta, GA 30339
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                         Location of principal assets, if different from principal
                                  County                                                         place of business
                                                                                                 6400 Powers Ferry Road, Suite 200 Atlanta, GA
                                                                                                 30339
                                                                                                 Number, Street, City, State & ZIP Code


 5.   Debtor's website (URL)


 6.   Type of debtor               ■ Corporation (including Limited Liability Company {LLC) and Limited Liability Partnership (LLP))
                                   D Partnership (excluding LLP)
                                   D Other. Specify:




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Debtor    Busch, Slipakoff, Mills & Slomka, LLC
          Name
                                                                                                   Case number {if known)
                                                                                                                            ----------------

          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
             imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on      August 29, 2023
                                                   MM/DD/YYYY

                             X Isl Howard P. Slomka                                                       Howard P. Slomka
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Member




18. Signature of attorney     X Isl Howard P. Slomka                                                        Date August 29, 2023
                                  Signature of attorney for debtor                                               MM/DD/YYYY

                                  Howard P. Slomka
                                  Printed name

                                  Howard Slomka PC
                                  Firm name

                                  6400 Powers Ferry Road NW
                                  Suite 391
                                  Atlanta, GA 30339
                                  Number, Street, City, State & ZIP Code

                                  Contact phone     770-856-5793                  Email address            Howie@Slomka.us

                                  652875 GA GA
                                  Bar number and State




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                       Debtor never operated as an entity due to the presence of the
                       Florida LLC which opened bank accounts in Florida and controlled all assets.
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Debtor       Busch, Slipakoff, Mills & Slomka, LLC                                               Case number (it known)    __ ___ _ __
                                                                                                                          _  _   _ _  _



     ■   None

      Creditor's name and address                      Describe of the Property                                     Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
   debt.

     ■ None
      Creditor's name and address                      Description of the action creditor took                      Date action was                   Amount
                                                                                                                    taken

HttiM Legal Actions or Assignments
7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity-within 1 year before filing this case.

     D None.

              Case title                               Nature of case               Court or agency's name and              Status of case
              Case number                                                           address
      7.1.    Slipakoff & Slomka, P.C. and             Contractual claim            Cobb County Superior                    ■ Pending
              Adam M. Slipakoff v. Busch               by 1 member                  Court                                   D On appeal
              Mills Slipakoff & Slomka,                against LLC and 3            32 Waddell Street
                                                                                                                            D Concluded
              LLC et al                                other members for            Marietta, GA 30090-2900
              201002227                                unpaid wages and
                                                       other sums due.
                                                        DISPUTED

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

     ■ None
■@IN         Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

     ■ None
              Recipient's name and address              Description of the gifts or contributions                 Dates given                            Value


■:fflJW      Certain Losses

1o. All losses from fire, theft, or other casualty within 1 year before filing this case.

      ■ None
       Description of the property lost and             Amount of payments received for the loss                  Dates of loss              Value of property
       how the loss occurred                                                                                                                              lost
                                                        If you have received payments to cover the loss, for
                                                        example, from insurance, government compensation, or
                                                        tort liability, list the total received.

                                                        List unpaid c\aims on Official Form 106NB (Schedule
                                                        A/8: Assets - Real and Personal Property).

■:ffllM Certain Payments or Transfers
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
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82030 (Form 2030) (12/15)
                                                                         United States Bankruptcy Court
                                                                                  Northern District of Georgia
 In re       Busch, Slipakoff, Mills & Slomka, LLC                                                                                                    Case No.
                                                                                                            Debtor(s)                                 Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify thatI am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ......................................................................................   $                  0.00
             Prior to the filing of this statementI have received .....................................................................           $                  0.00
             Balance Due                                                                                                                          $                  0.00

2.   The source of the compensation paid to me was:
             ■ Debtor                   D Other (specify):
3.   The source of compensation to be paid to me is:
             ■ Debtor                   D Other (specify):

4.       ■   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         D I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
           copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
     e. [Other provisions as needed]
                   Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of first
                   reaffirmation agreement and applications as needed (second and subsequent to be billed at $150 each plus
                   hearing time if any); preparation and filing of ONE motion pursuant to 11 USC 522(f)(2)(A) for avoidance of liens
                   on household goods, second and subsequent motions to be billed at $150 each..

6.       By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                   The following services are $150.00: Post filing amendment to Schedules, SOFA, or Statment of Intent.

                   The current hourly rate of Howard Slomka, PC is $425hour. The following services are on an hourly rate:
                   Adversary Proceedings; Appellate Practice; Rule 2004 Examinations; Evidentiary Hearing; Section 505 hearing
                   (determining tax liability); Post-filing, Pre-Divorce case analysis and financial planning; Motion to Redeem;
                   Non-Standard or unanticipated motions and filings.

                    The following services are $425.00/hour: Motions for contempt; Actions to enforce the Automatic Stay; Actions
                    to enforce the Bankruptcy discharge; challenges to means test; issues related to non-exempt assets.

                   Mailing and Service Costs incurred by law firm are to be paid by client at $1.00 per envelope or $1.00 over
                   postage rate for certified, overnight or large items.
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In re     Busch, Slipakoff, Mills & Slomka, LLC                                                     Case No.
                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   August 29, 2023                                                       /s/ Howard P. Slomka
   Date                                                                  Howard P. Slomka
                                                                         Signature ofAttorney
                                                                         Howard Slomka PC
                                                                         6400 Powers Ferry Road NW
                                                                         Suite 200
                                                                         Atlanta, GA 30339
                                                                         770-856-5793
                                                                         Name oflaw firm
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                                          United States Bankruptcy Court
                                                 Northern District of Georgia
 In re   Busch, Slipakoff, Mills & Slomka, LLC                                        Case No.
                                                              Debtor(s)               Chapter    _7
                                                                                                  _     ________




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Busch, Slipakoff, Mills & Slomka, LLC in the above captioned action, ce1iifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



■ None [Check ifapplicable]


August 29, 2023                                   Isl Howard P. Slomka
Date                                              Howard P. Slomka
                                                  Signature of Attorney or Litigant
                                                  Counsel for Busch, Slipakoff, Mills & Slomka, LLC
                                                  Howard Slomka PC
                                                  6400 Powers Ferry Road NW
                                                  Suite 200
                                                  Atlanta, GA 30339
                                                  770-856-5793
